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lN THE UN|TED STATES D|STRICT COURT

FOR THE WESTERN D|STR|CT OF TEXAS

WACO D|V|SION
SOON BLOOD dlbla SOUTH §
SEAS RESTAURANT, §
P|aintiff, §
§

v. § C|V|L ACT|0N NO. W-15-CV-073

§
SCOTTSDALE |NSURANCE §
COMPANY and SONN¥ BEVER, §
Defendants. §

J U D G M E N T

|n accordance With the Court’s Order granting P|aintiff’s N|otion to Remand,
the Court enters its Judgment as fo||oWs:

|T |S ORDERED, ADJUDGED AND DECREED that this case is REMANDED
to the 169"1 Judicia| District Court of Be|| County, Texas.

slGNED this /'+‘ day oprru, 2015.

MXL

WALTER S. SM|TH, JR.
UN|TEo STATES DlsTRlcT JuDGE

